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  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                           Case No. 09cr3393 BTM
 12                                       Plaintiff,       ORDER DENYING MOTION FOR
              v.                                           JUDGMENT OF ACQUITTAL
 13
       SHAWN HOLIDAY (4),
 14
                                       Defendant.
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             On March 28, 2011, Defendant Shawn Holiday filed a Motion for Judgment of Acquittal
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      on the ground that there was insufficient evidence to support his conviction. Defendant’s
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      motion is DENIED.
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             In analyzing the constitutional sufficiency of evidence to support a criminal conviction,
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      the reviewing court must consider the evidence presented at trial in the light most favorable
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      to the prosecution. United States v. Nevils, 598 F.3d 1158, 1164 (9th Cir. 2010). The court
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      “may not usurp the role of the finder of fact by considering how it would have resolved the
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      conflict, made the inferences, or considered the evidence at trial.” Id. After viewing the
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      evidence in the light most favorable to the prosecution, the court must determine whether
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      “any rational trier of fact could have found the essential elements of the crime beyond a
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      reasonable doubt.” Jackson v. Virginia, 443 U.S. 307, 319 (1979). The reviewing court may
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      not “ask itself whether it believes that the evidence at the trial established guilt beyond a
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      reasonable doubt.” Id. at 318-19.

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  1         The Court has reviewed and considered Defendant’s arguments and concludes that
  2   Defendant is not entitled to a judgment of acquittal. Viewing the evidence in the light most
  3   favorable to the prosecution, a rational trier of fact could have found beyond a reasonable
  4   doubt that Defendant possessed crack cocaine with the intent to distribute and did in fact
  5   distribute crack cocaine.
  6         Therefore, Defendant’s motion for a judgment of acquittal is DENIED.
  7   IT IS SO ORDERED.
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      DATED: May 12, 2011
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                                                 Honorable Barry Ted Moskowitz
 11                                              United States District Judge
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